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                      UNITED STATES DISTRICT COURT

                      DISTRICT OF SOUTH CAROLINA

                          CHARLESTON DIVISION

IN RE: AQUEOUS FILM-FORMING                    MDL NO. 2:18-mn-2873-RMG
FOAMS PRODUCT LIABILITY
LITIGATION

TYCO FIRE PRODUCTS LP,                                   2:23-cv-02384-RMG
                                       Civil Action No. _____________________
                          Plaintiff,
                v.                     COMPLAINT AND DEMAND
                                       FOR JURY TRIAL
AIU INSURANCE COMPANY,

AMERICAN GUARANTEE AND
LIABILITY INSURANCE COMPANY,

AMERICAN HOME ASSURANCE
COMPANY,

GREAT AMERICAN ASSURANCE
COMPANY,

INSURANCE COMPANY OF THE STATE
OF PENNSYLVANIA,

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA,

NEW HAMPSHIRE INSURANCE
COMPANY,

STARR INDEMNITY AND LIABILITY
COMPANY,

SWISS RE CORPORATE SOLUTIONS
AMERICA INSURANCE COMPANY
formerly known as NORTH AMERICAN
SPECIALTY INSURANCE COMPANY, and

ZURICH AMERICAN INSURANCE
COMPANY,

                         Defendants.
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       Plaintiff Tyco Fire Products LP, through undersigned counsel, brings this action against

the defendant insurers identified below and alleges, upon knowledge as to its own acts and upon

information and belief as to all other matters, the following in support of its complaint, as

follows:

                                   NATURE OF THE ACTION

       1.      This is an insurance coverage dispute arising under primary, umbrella, and excess

liability insurance policies (the “Policies”) issued by the defendants to or covering plaintiff Tyco

Fire Products LP (“Tyco Fire Products”).

       2.      Tyco Fire Products is a worldwide fire protection and fire detection safety

products company, with manufacturing, sale and distribution of products, together with

associated fire suppressant training, testing, research, and development of such products. By and

through this action, Tyco Fire Products seeks insurance coverage for various underlying lawsuits,

referred to as the “AFFF Suits,” arising out of its manufacture, design, sale, supply, use or

distribution of fire safety products.

       3.      Specifically, Tyco Fire Products has been named as a defendant in suits brought

by individual claimants, including current and former military and civilian firefighters, public,

quasi-public and private water providers, state and municipal governmental authorities, and

others, that have allegedly suffered bodily injury, property damage, or personal injury, or some

combination thereof, which they attribute to exposure to fire safety products manufactured,

designed, sold, supplied or distributed by Tyco Fire Products (the “AFFF Suits”). These suits

have been filed in various state courts, including in South Carolina, and are pending in a multi-

district litigation, or “MDL” before the Honorable Richard M. Gergel in this Court.




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       4.       The defendants’ policies described herein consist of primary, umbrella, and

excess comprehensive general liability policies for the policy periods spanning from 1990 to

2016, requiring the defendants to defend and/or indemnify Tyco Fire Products, in full, from suits

alleging bodily injury, personal injury, or property damage, or a combination thereof (the

“Policies”). Certain of the policies contain a duty to defend, or duty to pay or reimburse defense

costs, which requires each of the applicable insurer defendants to provide a full defense in

connection with the AFFF Suits. Each of the Policies also provides insurance coverage requiring

each of the insurer defendants to pay all costs and expenses incurred in satisfying any legal

liability in connection with the AFFF Suits, including any settlement or judgment.

       5.      The AFFF Suits allege a covered occurrence, and seek damages for bodily injury,

property damage or personal injury, as those terms are defined in the Policies. Accordingly, one

or more of the defendants has a duty to defend or to pay or reimburse defense costs in full. All

defendants have an obligation to acknowledge coverage and to indemnify the AFFF Suits on a

joint and several, “all sums” basis, in accordance with Policy obligations.

       6.      Tyco Fire Products has satisfied all terms and conditions of the Policies, including

the payment of premiums and tender of the AFFF Suits. Tyco Fire Products is thus entitled to

the full benefit of the insurance coverage available under the Policies.

       7.      Tyco Fire Products brings this action for declaratory relief pursuant to the

Declaratory Judgments Act, 28 U.S.C. § 2201, et seq. This case involves an actual, justiciable

controversy between and among the parties as described herein. Specifically, and as more

particularly alleged herein, Tyco Fire Products seeks declarations that each of the insurer

defendants identified herein is obligated to (1) provide Tyco Fire Products with a full

investigation and defense in connection with the AFFF Suits or pay or reimburse in full the




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underlying costs of investigation and defense of the AFFF Suits; and/or (2) pay in full any and

all legal liabilities incurred, to be incurred, or paid in connection with the AFFF Suits, including

any and all settlements or judgments.

       8.      Plaintiff further seeks declarations that (1) each of the umbrella and excess

insurers with a duty to defend or obligation to pay or reimburse defense and investigation costs

and expenses must provide Tyco Fire Products with a complete defense in connection with the

AFFF Suits, or pay or reimburse in full the underlying costs of investigation and defense of the

AFFF Suits; and (2) that all of the umbrella and excess insurer defendants must pay in full for

any and all legal liabilities incurred, to be incurred, or paid in connection with the AFFF Suits,

including any and all settlements or judgments.

       9.      Plaintiff also seeks all further declarations and remedies necessary and

appropriate in aid of this Court’s general equity jurisdiction to determine in one proceeding all

pertinent issues and grant full and complete relief to Tyco Fire Products.

                                          THE PARTIES

                                              Plaintiff

       10.     Tyco Fire Products LP. Tyco Fire Products LP is a limited partnership

organized under the laws of the State of Delaware, and is a citizen of Delaware based on the

citizenship of its limited partners, with its principal place of business in Marinette, Wisconsin.

                                            Defendants

       11.     AIU. Defendant AIU Insurance Company (“AIU”) is a corporation organized

under the laws of the State of New York, with its principal place of business located in the State

of New York. Upon information and belief, at all relevant times, AIU was and is licensed to do

and is doing business in the State of South Carolina. AIU is also at times referred to as “AIG.”



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       12.     American Guarantee. Defendant American Guarantee and Liability Insurance

Company (“American Guarantee”) is a corporation organized under the laws of the State of New

York, with its principal place of business located in the State of Illinois. Upon information and

belief, at all relevant times, American Guarantee and Liability was and is licensed to do and is

doing business in the State of South Carolina. American Guarantee is also at times referred to as

“Zurich.”

       13.     American Home. Defendant American Home Assurance Company (“American

Home”) is a corporation organized under the laws of the State of New York, with its principal

place of business located in the State of New York. Upon information and belief, at all relevant

times, American Home was and is licensed to do and is doing business in the State of South

Carolina. American Home is also at times referred to as “AIG.”

       14.     Great American. Defendant Agricultural Insurance Co., now known as Great

American Assurance Co. (“Great American”) is a corporation organized under the laws of the

State of Ohio, with its principal place of business located in the State of Ohio. Upon information

and belief, at all relevant times, Great American was and is licensed to do and is doing business

in the State of South Carolina.

       15.     Ins. Co. of Pennsylvania. Defendant Insurance Company of the State of

Pennsylvania (“Ins. Co. of Pennsylvania”) is a corporation organized under the laws of the State

of Illinois, with its principal place of business located in the State of New York. Upon

information and belief, at all relevant times, Ins. Co. of Pennsylvania was and is licensed to do

and is doing business in the State of South Carolina. Ins. Co. of Pennsylvania is also at times

referred to as “AIG.”




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       16.     National Union. Defendant National Union Fire Insurance Company of

Pittsburgh, Pa. (“National Union”) is a corporation organized under the laws of the

Commonwealth of Pennsylvania, with its principal place of business located in the State of New

York. Upon information and belief, at all relevant times, National Union was and is licensed to

do and is doing business in the State of South Carolina. National Union is also at times referred

to as “AIG.”

       17.     New Hampshire Ins. Co. Defendant New Hampshire Insurance Company

(“New Hampshire”) is a corporation organized under the laws of the State of Illinois, with its

principal place of business located in the State of New York. Upon information and belief, at all

relevant times, New Hampshire was and is licensed to do and is doing business in the State of

South Carolina. New Hampshire is also at times referred to as “AIG.”

       18.     North American. Defendant North American Specialty Insurance Company,

now known as Swiss Re Corporate Solutions America Insurance Corporation (“North

American”), is organized under the laws of the state of Missouri, with its principal place of

business located in Missouri. Upon information and belief, at all relevant times, North American

was and is licensed to do and is doing business in the State of South Carolina.

       19.     Starr Indemnity. Defendant Starr Indemnity and Liability Company (“Starr

Indemnity”) is a corporation organized under the laws of the State of Texas, with its principal

place of business located in the State of New York. Upon information and belief, at all relevant

times, Starr Indemnity was and is licensed to do and is doing business in the State of South

Carolina.

       20.     Zurich American Insurance Company. Defendant Zurich American Insurance

Company, formerly known as Zurich Insurance Company (“Zurich American”) is a corporation




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organized under the laws of New York, with its principal place of business located in Illinois.

Upon information and belief, at all relevant times, Zurich was and is licensed to do and is doing

business in the State of South Carolina. Zurich American is also at times referred to as “Zurich.”

                                  JURISDICTION AND VENUE

        21.     This Court has diversity jurisdiction over this matter under 28 U.S.C. § 1332.

Complete diversity exists because no defendant is domiciled in the same states as plaintiff

(Delaware and Wisconsin). The amount in controversy substantially exceeds the jurisdictional

threshold of $75,000.

        22.     This Court may exercise personal jurisdiction over each defendant insurer

consistent with due process because defendants each knowingly availed themselves of this

forum, including because (i) each insurer deliberately licensed itself to do business in South

Carolina and engages in substantial business activities in this State; (ii) each insurer included

South Carolina within the coverage territory of each of the Policies at issue, thereby insuring

South Carolina risks relating to Tyco Fire Products’ operations, products, and interests in or

relating to South Carolina; and (iii) each insurer promised, though its Policies, to provide

insurance benefits in or relating to South Carolina, including by paying damages and/or

providing a defense or paying defense costs with respect to underlying suits brought in South

Carolina, by South Carolina claimants, or affecting residents, businesses, property, or interests in

South Carolina, including AFFF Suits arising from this State.

        23.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 including because (i)

each defendant is subject to personal jurisdiction in this judicial district; and (ii) a substantial part

of the events or omissions giving rise to this action occurred in this judicial district, because each

insurer’s Policies promise to provide insurance benefits and insure risks relating to Tyco Fire



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Products operations, products, and interests in or relating to this judicial district, and this judicial

district is where the underlying AFFF Suits are being litigated and potentially resolved as part of

a pending MDL in South Carolina, Docket No. 2:18-mn-02873-RMG.

        24.     Venue is appropriate in the United States District Court for the District of South

Carolina, Charleston Division, pursuant to this Court’s Case Management Order No. 3

(“CMO 3”). Tyco Fire Products states that but for CMO 3 permitting direct filing in the United

States District Court for the District of South Carolina, Charleston Division, Tyco Fire Products

would have filed this Complaint in the United States District Court for the District of South

Carolina. Further, in accordance with CMO 3, Tyco Fire Products hereby designates the United

States District Court for the District of South Carolina as the “Home Venue,” as this case may

have originally been filed there.

                                    FACTUAL BACKGROUND

                                           The AFFF Suits

        25.     Tyco Fire Products has been named as a defendant in over 4,000 suits which

allege bodily injury, personal injury, and/or property damage (or combination thereof) caused by

certain man-made chemicals known as per- and polyfluoroalkyl substances (“PFAS”) which are

allegedly contained in aqueous film-forming foam products manufactured, distributed and sold

by Tyco Fire Products (the “AFFF Suits”). The AFFF Suits are pending in the Multidistrict

Litigation Court in South Carolina, MDL Docket No. 2:18-mn-02873-RMG (the “MDL

Claims”). The AFFF Suits include all MDL AFFF Suits and also include all similarly-situated

suits now pending or asserted in the future, including such future MDL AFFF Suits and

otherwise. The Policies discussed herein are responsive to the AFFF Suits.

        26.     The AFFF Suits allege a covered occurrence under the Policies and seek damages

for bodily injury, personal injury or property damage (or combination thereof) during one or


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more of the policy periods of the Policies. The allegations in the AFFF Suits trigger the insurer

defendants’ duty to defend Tyco Fire Products or to pay or reimburse Tyco Fire Products’

defense and investigation costs in the AFFF Suits. The allegations of the AFFF Suits also

require each, some or all of the defendants fully to indemnify Tyco Fire Products on a joint and

several, “all sums” basis for any and all settlements or judgments in the AFFF Suits in

accordance with the terms of their respective Policies.

        27.     The AFFF Suits seek damages based on causes of action sounding in product

liability, strict liability, including strict products liability, failure to warn, nuisance, negligence,

and trespass, among others.

                                              The Policies

                                            The AIU Policy

        28.     Defendant AIU issued at least the following Policy to Tyco Fire Products with

effective dates and policy number as set forth below:

                         Policy Number                       Policy Period
                         75-105119                       06/01/1990-06/01/1991

                                 The American Guarantee Policies

        29.     Defendant American Guarantee issued at least the following Policies to Tyco Fire

Products with effective dates and policy numbers as set forth below:

                         Policy Number                       Policy Period
                         AEC 5087987 00                  10/01/2004-10/01/2005
                         AEC 9260785 00                  06/29/2007-10/01/2008
                         AEC926078501                    10/01/2008-10/01/2009
                         IPR 3792307-00                  10/01/2011-10/01/2012
                         AEC5834021-00                   10/01/2012-10/01/2013




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                                 The American Home Policies

       30.     Defendant American Home issued at least the following Policies to Tyco Fire

Products with effective dates and policy numbers as set forth below:

                      Policy Number                      Policy Period
                      RMGL 612-28-43                07/01/1999-07/01/2000
                      RMGL 612-36-20                07/01/2000-10/01/2001
                      RMGL 612-48-79                10/01/2001-10/01/2002
                      RMGL 612-48-79                10/01/2002-10/01/2003
                      GL 480-59-49                  10/01/2003-10/01/2004
                      GL 547-35-58                  10/01/2004-10/01/2005
                      GL 574-97-08                  10/01/2005-10/01/2006
                      GL 575-91-20                  10/01/2006-10/01/2007
                      BE 4485682                     10/01/2006-6/29/2007
                      GL 159-54-15                  06/29/2007-10/01/2008
                      BE 9835073                    06/29/2007-10/01/2008

                                  The Great American Policy

       31.     Defendant Great American issued at least the following Policy to Tyco Fire

Products with effective dates and policy number as set forth below:

                      Policy Number                     Policy Period
                      EXC 7-30-62-19-00             10/19/1992-06/01/1993

                             The Ins. Co. of Pennsylvania Policy

       32.     Defendant Ins. Co. of Pennsylvania issued at least the following Policy to Tyco

Fire Products with effective dates and policy number as set forth below:

                      Policy Number                     Policy Period
                      4690-2085                     06/01/1990-06/01/1991

                                 The National Union Policies

       33.     Defendant National Union issued at least the following Policies to Tyco Fire

Products with effective dates and policy numbers as set forth below:




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                      Policy Number                     Policy Period
                      RMGL 249-83-23                06/01/1990-06/01/1991
                      BE 308-08-48                  06/01/1990-06/01/1991
                      RMGL 325-00-09 RA             06/01/1991-06/01/1992
                      BE 308-34-44                  06/01/1991-06/01/1992
                      RMGL 326-42-43 RA             06/01/1992-07/01/1993
                      BE 308-62-96                  06/01/1992-07/01/1993
                      RMGL 175-93-23                06/01/1993-06/01/1994
                      RMGL 175-93-24                07/01/1993-07/01/1994
                      BE 308-98-82                  07/01/1993-07/01/1994
                      RMGL 319-82-58                07/01/1994-07/01/1995
                      BE 309-56-08                  07/01/1994-07/01/1995
                      RMGL 121-25-71                07/01/1995-07/01/1996
                      BE 309-97-01                  07/01/1995-07/01/1996
                      RMGL 143-76-09                07/01/1996-07/01/1997
                      BE 309-97-81                  07/01/1996-07/01/1997
                      RMGL 143-85-92                07/01/1997-07/01/1998
                      BE 932-56-66                  07/01/1997-07/01/1998
                      RMGL 612-19-91                07/01/1998-07/01/1999
                      BE 357-43-22                  07/01/1998-07/01/1999
                      346 39 36                     07/01/1998-07/01/1999
                      BE 701 62 13                  07/01/1999-07/01/2000
                      BE 7394784                    07/01/2000-10/01/2001
                      BE 8713678                    10/01/2001-10/01/2002
                      BE 2195412                    10/01/2002-10/01/1003
                      BE 2977855                    10/01/2003-10/01/2004
                      BE 2978239                    10/01/2004-10/01/2005
                      BE 2979931                    10/01/2005-10/01/2006

                                 The New Hampshire Policies

       34.    Defendant New Hampshire issued at least the following Policies to Tyco Fire

Products with effective dates and policy numbers as set forth below:

                      Policy Number                     Policy Period
                      GL 187-19-24                  10/01/2008-10/01/2009
                      GL 187-19-90                  10/01/2008-10/01/2009
                      GL 090-73-63                  10/01/2009-10/01/2010
                      GL 090-73-64                  10/01/2009-10/01/2010
                      GL 436-08-84                  10/01/2010-10/01/2011
                      GL 436-08-85                  10/01/2010-10/01/2011
                      GL 244-96-07                  10/01/2011-10/01/2012
                      GL 244-96-08                  10/01/2011-10/01/2012



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                       Policy Number                    Policy Period
                       GL 714-64-17                 09/28/2012-10/01/2013
                       GL 714-64-18                 09/28/2012-10/01/2013

                                   The North American Policy

       35.     Defendant North American issued at least the following Policy to Tyco Fire

Products with effective dates and policy numbers as set forth below:

                       Policy Number                    Policy Period
                       H2X0000300-00                10/01/2010-10/01/2011

                                     Starr Indemnity Policy

       36.     Defendant Starr Indemnity issued at least the following Policy to Tyco Fire

Products with effective dates and policy number as set forth below:

                       Policy Number                    Policy Period
                       1000040408151                10/01/2015-10/01/2016

                                 The Zurich American Policies

       37.     Defendant Zurich American issued at least the following Policies to Tyco Fire

Products with effective dates and policy numbers as set forth below:

                       Policy Number                    Policy Period
                       EUO 8472802-00               07/01/1997-07/01/1998
                       EUO 8472802-01               07/01/1998-07/01/1999
                       EUO 8472802-02               07/01/1999-07/01/2000
                       AEC 5223121-00               10/01/2001-10/01/2002


                                     CAUSES OF ACTION

                                            COUNT I
                                     (Declaratory Judgment)

       38.     Tyco Fire Products incorporates Paragraphs 1 through 37 as though fully set forth

herein, and further alleges as follows:




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       39.     The defendants identified herein, under their Policies and applicable law, have a

duty to investigate, defend, reimburse and indemnify Tyco Fire Products completely from and

against the AFFF Suits. The defendants disagree with these assertions. An actual and justiciable

controversy exists between Tyco Fire Products and these defendants concerning their obligations

under the applicable Policies.

       40.     Accordingly, Tyco Fire Products seeks declarations as to the interpretation and

meaning of the Policies identified herein that these defendants issued to Tyco Fire Products, as

follows:

               a.     The Policies cover all AFFF Suits that allege bodily injury, personal

                      injury, injurious exposure, progression of injury and/or disease,

                      manifestation of illness, death, or property damage (including any

                      combination thereof) during any Policy period due to the presence or

                      alleged presence of certain PFAS chemicals in or resulting from Tyco Fire

                      Products’ manufacture design, sale, supply, use or distribution of AFFF;

               b.     The AFFF Suits “trigger” the Policies as long as injury or damage is

                      alleged during the period of the Policy;

               c.     Tyco Fire Products may select the Policy or Policy years to which to

                      assign or allocate in full loss from the AFFF Suits;

               d.     In the case of any claimed ambiguity in any Policy, such ambiguity shall

                      be construed in favor of the broadest coverage afforded under the Policy;

               e.     Each defendant’s duty to defend or to pay or reimburse defense costs for

                      the AFFF Suits is a joint, several and indivisible obligation under the




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              Policies that provide for a duty to defend or to pay or reimburse defense

              costs;

        f.    If any allegation or cause of action in an AFFF Suit is potentially covered

              under the Policies, then the defendant must fully defend or pay or

              reimburse in full the costs of defending against all of the allegations and

              all of the causes of action in the complaint;

        g.    Each Policy is required to pay or reimburse all sums that Tyco Fire

              Products becomes legally obligated or required to pay as damages by

              reason of the AFFF Suits;

        h.    Each Policy must indemnify covered AFFF Suits, in full, up to its “per

              occurrence” limit, regardless of whether a continuing injury spans multiple

              policy periods;

        i.    Any aggregate limit on coverage in any of the Policies is a limitation on

              coverage, and therefore each defendant has the burden to prove, based on

              the evidence, that an AFFF Suit is subject to the aggregate limit in the

              Policies, if any;

        j.    Tyco Fire Products is not required to pay or reimburse deductibles or self-

              insured retentions for the AFFF Suits or such deductible or self-insured

              retentions have been satisfied;

        k.    “Fronting” policies, deductibles, self-insured retentions or retained limits

              do not constitute “other insurance” within the context of the Policies; and

        l.    Coverage under the Policies for the AFFF Suits is not precluded on the

              basis of any purported limitation or exclusion that might be contained in




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                       the Policies, including but not limited to any so-called “pollution

                       exclusion” or any purported limitation or the payment of damages because

                       of property damage.

       41.     Actual and justiciable controversies therefore exist between Tyco Fire Products

and defendants concerning their obligations under the applicable Policies.

       42.     The immediacy of this controversy justifies this Court’s exercise of authority to

issue a declaratory judgment determining the duties and obligations of the parties under the

applicable Policies. The Court’s issuance of an order determining the rights and duties of the

parties under the applicable Policies will conclude the existing controversy between the parties.

                                          COUNT II
                           (Declaratory Judgment and Other Relief)

       43.     Tyco Fire Products incorporates Paragraphs 1 through 42 as though fully set forth

herein, and further alleges as follows:

       44.     Plaintiff seeks declaratory and injunctive relief from this Court in order to

remove, and to afford relief from, the uncertainty and insecurity with respect to its rights under

the Policies issued by the defendants, and seeks all remedies necessary and appropriate in aid of

this Court’s general equity jurisdiction to determine all pertinent issues and grant full and

complete relief to Tyco Fire Products, including enjoining defendants from taking any action

inconsistent with the terms of any Policy, and including (without limitation) the relief set forth in

the preceding claim for relief.

       45.     Such relief is necessary and appropriate in aid of this Court’s jurisdiction and

necessary in order to afford the full relief requested by this complaint.




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                                  PRAYER FOR RELIEF

       WHEREFORE, plaintiff respectfully demands judgment against defendants as follows:

       A.    On Count I, for the declarations sought therein, including but not limited to the

following:

             (i)     The Policies cover all AFFF Suits that allege bodily injury, personal

                     injury, injurious exposure, progression of injury and/or disease,

                     manifestation of illness, death, or property damage (including any

                     combination thereof) during any Policy period due to the presence or

                     alleged presence of certain PFAS chemicals in or resulting from Tyco Fire

                     Products’ manufacture, design, sale, supply, use or distribution of AFFF;

             (ii)    The AFFF Suits “trigger” the Policies as long as injury or damage is

                     alleged during the period of the Policy;

             (iii)   Tyco Fire Products may select the Policy or Policy years to which to

                     assign or allocate in full loss from the AFFF Suits;

             (iv)    In the case of any claimed ambiguity in any Policy, such ambiguity shall

                     be construed in favor of the broadest coverage afforded under the Policy;

             (v)     Each defendant’s duty to defend or to pay or reimburse defense costs for

                     the AFFF Suits is a joint, several and indivisible obligation under the

                     Policies that provide for a duty to defend or to pay or reimburse defense

                     costs;

             (vi)    If any allegation or cause of action in an AFFF Suit is potentially covered

                     under the Policies, then the defendant must fully defend or pay or




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                reimburse in full the costs of defending against all of the allegations and

                all of the causes of action in the complaint;

        (vii)   Each Policy is required to pay or reimburse all sums that Tyco Fire

                Products becomes legally obligated or required to pay as damages by

                reason of the AFFF Suits;

        (viii) Each Policy must indemnify covered AFFF Suits, in full, up to its “per

                occurrence” limit, regardless of whether a continuing injury spans multiple

                policy periods;

        (ix)    Any aggregate limit on coverage in any of the Policies is a limitation on

                coverage, and therefore each defendant has the burden to prove, based on

                the evidence, that an AFFF Suit is subject to the aggregate limit in the

                Policies, if any;

        (x)     Tyco Fire Products is not required to pay or reimburse deductibles or self-

                insured retentions for the AFFF Suits or such deductibles or self-insured

                retentions have been satisfied;

        (xi)    “Fronting” policies, deductibles, self-insured retentions or retained limits

                do not constitute “other insurance” within the context of the Policies; and

        (xii)   Coverage under the Policies for the AFFF Suits is not precluded on the

                basis of any purported limitation or exclusion that might be contained in

                the Policies, including but not limited to any so-called “pollution

                exclusion” or any purported limitation on the payment of damages because

                of property damage;

   B.   On Count II, for the declarations and other relief sought therein;




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      C.      For such other and further relief as the Court may deem just and proper; and

      D.      For plaintiff’s attorneys’ fees, costs and expenses.

                                       JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.

                                              Respectfully submitted,

                                              RIKARD & PROTOPAPAS, LLC



Date: May 31, 2023                            By: s/ Peter D. Protopapas, Esquire
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